Case 1:16-cv-00563-PTG-WBP    Document 127    Filed 12/08/16   Page 1 of 23 PageID#
                                    1875



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Case 1:16-cv-00563-PTG-WBP                          Document 127                Filed 12/08/16             Page 2 of 23 PageID#
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     (B 1J2I3LI^^A"#I47"3"*2KL7"'`cda"L_2L"L_a"a42KLIM3A"5M@a`a4"aJa@23L"
          02La`I2JBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBR
     5B #a^a3423LA["a42KLIM3A"5M@a`"#IAKM@a`2eJa"3^M`f2LIM3BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBg
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          5ILa"5M3L̀2`i"5M3L̀MJJI3c"52Aa"+2hBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBj
     $B 5M3L̀2`i"LM"#a^a3423LA["'AAa`LIM3A7"1J2I3LI^^A["#IAKM@a`i"1MAILIM3"IA"
          !2``MhBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB00
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     'B 1J2I3LI^^A"#I4"!ML"0IAK_2`2KLa`Iba"L_a"02cIAL̀2La"&d4ca[A"`4a`BBBBBBBBBBBBBBBBBBBBBBBBB0k
     (B #a^a3423LA"'llJi"23"3KMflJaLa"+ac2J")aAL"*M`"'LLM`3ai"CM`m1`M4dKLBBBBBBBBBBB0R
     5B #a^a3423LA"5M3^dAa")_a"*Md`L_"5ÌKdIL[A"+ac2J")aAL"*M`"#aLa`fI3I3c"
          C_a3"CM`m"1`M4dKL"1`MLaKLIM3"IA"C2I@a4BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB0Q
     #B #a^a3423LA["'`cdfa3L"'eMdL"\deAL23LI2J"!aa4]"A"'"a4".a``I3cBBBBBBBBBBBBBBBBBBB0O
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Case 1:16-cv-00563-PTG-WBP                                   Document 127                     Filed 12/08/16                   Page 3 of 23 PageID#
                                                                   1877



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Case 1:16-cv-00563-PTG-WBP                        Document 127               Filed 12/08/16            Page 4 of 23 PageID#
                                                        1878


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Case 1:16-cv-00563-PTG-WBP          Document 127       Filed 12/08/16     Page 5 of 23 PageID#
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         #a^a3423LA"`ala2La4Ji"`a^a`a3Ka"1J2I3LI^^A["ld`lM`La4"\`dA_"LM"^IJa]L_aÌ"0MLIM3"LM"
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 `aAMJ@a"L_a"l2`LIaA["4IAKM@a`i"IAAdaAB""1dL"AIflJi7"#a^a3423LA"_2@a"`ala2La4Ji"hIL__aJ4"
 `aAlM3AI@a"4MKdfa3LA7"l`M4dKI3c"L_af"M3Ji"2^La`"1J2I3LI^^A"a¥lJIKILJi"3MLa4"L_a"4a^IKIa3KIaA"234"
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 #a^a3423LA["l`M4dKLIM3AB""Hv2LgSOB""0MAL"3ML2eJi7"2JL_Mdc_"Aa@a`2J"4Mba3"M^"1J2I3LI^^A["`a£daALA"
 ^M`"l`M4dKLIM3"AlaKI^IK2JJi"AMdc_L"\KMffd3IK2LIM3A7]"1J2I3LI^^A"AL2La4"L_2L"#a^a3423LA"_24"
 \l`M4dKa4"a¥2KLJi"M3aaf2IJ"K_2I3"I3"L_a"a3LÌaLi"M^"¦L_aÌ§"LhM"l`M4dKLIM3AB]""Hv2Lgafl_2AIA"
 I3"M`IcI32JB""#a^a3423LA"L_a3"Aa`@a4"2"l`M4dKLIM3"L_2L"I3KJd4a4"`aAlM3AI@a"af2IJAB
         3"KLMea`"07"kP0O7"1J2I3LI^^A"3MLa4"Aa@a`2JML_a`JI3ca`I3c"4a^IKIa3KIaA"I3"#a^a3423LA["
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 )M"l`a@a3L"#a^a3423LA"^`Mf"KM3LI3dI3c"LM"l`M4dKa"`aAlM3AI@a"4MKdfa3LA"I3"L_IA"lIaKafa2J"
 ^2A_IM37"M3"KLMea`"kP7"kP0O7"1J2I3LI^^A"2Ama4"#a^a3423LA"LM"\KM3^Ìf"h_aL_a`"iMd"2`a"4M3a"hIL_"
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Case 1:16-cv-00563-PTG-WBP          Document 127        Filed 12/08/16     Page 6 of 23 PageID#
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 l`M4dKLIM3AB]""Hv""#aAlILaL_IA"`al`aAa3L2LIM3¨234"M3Ji"2^La`"3dfa`MdA244ILIM32J"af2IJ"
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 4MKdfa3LA"3a@a`"KMdJ4"_2@a"eaa3"hIL__aJ4"M3"23i"e2AIA"I3"L_a"^ÌAL"lJ2KaB
         I@a3#a^a3423LA["lIaKafa2J"l`M4dKLIM3A7"1J2I3LI^^A"KMdJ4"3ML"2^^M`4"LM"h2IL"d3LIJ"
 #aKafea`"k7"L_a"3a¥L"2@2IJ2eJa"_a2`I3c"42La7"234"M3a"haam"ea^M`a"L_a"KJMAa"M^"4IAKM@a`iB""3"23i"
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 KM3^a`7"#a^a3423LA"KM3LI3da4"LM"f2I3L2I3L_aÌ"2AAa`LIM3A"M^2LLM`3aiSKJIa3L"l`I@IJaca"M@a`L_a"
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Case 1:16-cv-00563-PTG-WBP          Document 127        Filed 12/08/16     Page 7 of 23 PageID#
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          #a^a3423LA"AL2La"L_2L"1J2I3LI^^A"fIAK_2`2KLa`Iba"L_a"02cIAL̀2La"&d4ca[A"`4a`B""GGll[3"
 0RB"")_IA"IA"3ML"AMB""'"^dJJ"`a@Iah"M^"L_a"l2`2c`2l_"I3"L_a"`4a`"`aJ2LI3c"LM"L_a"`a42KLIM3"IAAda"
 A_MhA"L_2L"L_a"`4a`"2AAdfa4"L_2L"#a^a3423LA["`a42KLIM3A"ha`a"f24a"eaK2dAa"L_aiKM3L2I3a4"
 la`AM32J"I3^M`f2LIM3"M`"I4a3LILIaAB"")_2L"L_a"`4a`"afl_2AIbaA"L_2L"\la`AM32J"I3^M`f2LIM3"234"
 I4a3LILIaA"st9Hq~Gy=:;<9zea"Ì`aJa@23L]"4afM3AL̀2LaAL_2L"L_a"02cIAL̀2La"&d4ca"eaJIa@a4"
 #a^a3423LA"_24"L2ma3"L_a"lMAILIM3"L_2L"L_a"`a42KLa4"I3^M`f2LIM3"KM3L2I3a4"la`AM32J"I4a3LI^iI3c"
 I3^M`f2LIM3M^"AMfa"mI34B""`4a`"2L"kafl_2AIA"244a4B""L_a`hIAa7"L_IA"J23cd2ca¨I3"23"
 2J̀a24i"e`Ia^"M`4a`¨hMdJ4"_2@a"3M"`aJa@23Ka7"234"2443M"fa23I3c7LM"L_a"`4a`B""(dL"
 #a^a3423LA"KM3^Ìfa4"M3"3dfa`MdA"MKK2AIM3A"L_2L"L_aÌ"`a42KLIM3A"4I4"3ML"KM@a`"la`AM32J"
 I4a3LI^iI3c"I3^M`f2LIM3B)_a"`4a`[A"AL2`LI3c"lMI3L"`ac2`4I3c"L_a"`a42KLIM3"IAAda"h2A"KJa2`Ji"
 a``M3aMdA7"234"L_IA"IA"`a2AM3"a3Mdc_"LM"AaL"2AI4a"L_a"`4a`B
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          #a^a3423LA"a¥la34"fdK_"a3a`ci"M3"L_a"I4a2"L_2L"1J2I3LI^^A"_2@a"3a@a`"2`cda4"L_2L"
 #a^a3423LA["`a42KLIM3A"KM@a`"\`aJa@23L]"f2La`I2JB""GGll[3"2L07"0R¬0QB""(dL"2A"2J̀a24i"
 a¥lJ2I3a47"?GGe¤B"2L"0P"3B7"IL"IA"3ML"1J2I3LI^^A["ed`4a3"LM"2AAa`L"234"l`M@a"L_a"`aJa@23Ka"M^"
 f2LLa`"L_2L"1J2I3LI^^A"K233ML"Aaa"2A"2"`aAdJL"M^"Ifl`Mla`"`a42KLIM3AL_2L"#a^a3423LA"_2@a"f24aI3"
 L_a"^ÌAL"I3AL23KaB""GGqGwGy:GqF;?=y;t=sy?q<~vqwvq;99GyqyG;<qrsv7"!MB"kNPS5/S000k7"
 kP0P"C+"0jkjOgP7"2L"µQ¬OB#B"_IM"'l`B"k7"kP0P"c`23LI3c"fMLIM3"LM"KMflaJ"l`M4dKLIM3"M^"
 \d3`a42KLa4"@a`AIM3A"M^"L_a"4MKdfa3LA"¦4a^a3423LA§"l`a@IMdAJi"l`M4dKa4"I3"`a42KLa4"^M`f]"
 ;=}st=qyG¶t;y;<q9:;<=;>>?q=sqyswGq=}GqyG9Gw:<~Gqs>qG:~}qHs~t{G<=eaK2dAa7\¦c§I@a3"L_a"a¥La3L"
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Case 1:16-cv-00563-PTG-WBP           Document 127        Filed 12/08/16      Page 8 of 23 PageID#
                                           1882



 M^"L_a"`a42KLIM3A"f24a"ei"4a^a3423LA7"IL"hMdJ4"ea"IflMAAIeJa"LM"4I@I4a"L_af"I3LM"2"^ah"4IAK`aLa"
 K2LacM`IaA"2eMdL"h_IK_"`aJa@23Ki"2`cdfa3LA"KMdJ4"KM3@a3Ia3LJi"234"I3LaJJIca3LJi"ea"f24aB""*M`"
 L_a"A2fa"`a2AM37"23";<q~:{Gy:`a@Iah"M^"a2K_"`a42KLa4"4MKdfa3L"234L_a"KM``aAlM34I3c"
 d3`a42KLa4"M`IcI32J"hMdJ4"ea"d33aKaAA2`IJi"ed`4a3AMfa"234"LIfaSKM3AdfI3cB]%"?GGq:9?s
 }sHG<;Gywvqr;=zqs>q;~}{s<Hq8s9;~GqFG·=7"!MB"5/B"RNP5/RPO7"kPP"C+"RRRgjgg7"2L"µ0"
 $B#B"/2B"KLB"0g7"kPP"\)_a"ed`4a3"IA"M3"L_a"la`AM3"Me¤aKLI3c"LM"L_a"4IAKM@a`i¨_a`a7"L_a"
 #a^a3423L̈ LM"4afM3AL̀2La"L_2L"AdK_"4IAKM@a`i"A_MdJ4"3ML"ea"la`fILLa4B]B
          3"23i"a@a3L7"1J2I3LI^^A"_2@a"KM3La34a42JJ"2JM3c"L_2L"L_a"`a42KLIM3A"a3KMfl2AA"`aJa@23L"
 f2LLa`B"GGqGvv70MLB"5MflaJ"2L"0Q"3MLI3c"L_2L"\#a^a3423LA["l`M4dKLIM3"M^"L_a"¦`a42KLa4§"
 4MKdfa3LA"I3"L_a"^ÌAL"lJ2Ka"2Km3MhJa4ca"=}G;yqyG9Gw:<~GLM"L_al2`LIaA["KJ2IfA"M`"4a^a3AaA]
 afl_2AIA"244a4%";Hv2L"0O"3MLI3c"L_2L"\#a^a3423LA"`a42KL"I3^M`f2LIM3"KM3Ka`3I3c"1J2I3LI^^A]%"
 alJi"0MLB"5MflaJ#mLB"!MB"O"2L"g"\#a^a3423LA"2lla2`"LM"_2@a"`a42KLa4"t<:{;tst?9zq
 yG9Gw:<=q{:=Gy;:9B]afl_2AIA"244a4%";Hv2L"k"\)_aAa"4MKdfa3LA"2`a"`aAlM3AI@a"234"3M3S
 l`I@IJaca47"234"A_MdJ4"ea"l`M4dKa4B]B
           ­ 6©¡W7±¡776±¸73©¹¡
         'A"23"I3ILI2J"f2LLa`7"#a^a3423LA"2c2I3"^2dJL"1J2I3LI^^A"^M`"3ML"AaLLI3c"^M`L_"a¥lJ232LIM3A
 `ac2`4I3c"a2K_"`a42KLIM3"f24a"ei"#a^a3423LA7"a@a3"L_Mdc_"1J2I3LI^^A"4M"3ML"ea2`"L_IA"ed`4a3B""
 GGq?ty:7"aKLIM3"B(%"e¤B"2L"0P"3BB""#a^a3423LA"2JAM"AL2La"L_2L"1J2I3LI^^A"4M"3ML"I4a3LI^iML_a`"
 `a42KLa4"4MKdfa3LA7"edL"1J2I3LI^^A"l`M@I4a4"2"JIAL"M^"(2LaA"3dfea`AB""GG0MLB"5MflaJ"2L"R"3Bk%"
 0k"3BQB""(i"l`M@I4I3c"^d`L_a`"a¥2flJaA"I3"L_aÌ"e¤aKLIM37"1J2I3LI^^A"ha`a3ML"AaamI3c"2"\AaKM34"
 A_ML7]"edL"I3ALa24AMdc_LLM"l`M@I4a"IJJdAL̀2LI@a"a¥2flJaA"^M`"L_a"5Md`L"LM"`a34a`"2"¤dAL"4aKIAIM3B""
 !a@a`L_aJaAA7"1J2I3LI^^A"hIJJ"`aAlM34"LM"L_a"4MKdfa3LA"AlaKI^IK2JJi"3MLa4"ei"#a^a3423LAB
         *ÌAL7"#a^a3423LA"2`cda"L_2L"I3^M`f2LIM3"`ac2`4I3c"MdLAL234I3c"`a3ah2JA"2L"#a^a3423LA["
 ML_a`"l`Mla`LIaA"IA"3ML"4IAKM@a`2eJaB""ll[3"2L"0QB"")_IA"2AAa`LIM3"IA"I32llMAILa7"l`If2`IJi"eaK2dAa"
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Case 1:16-cv-00563-PTG-WBP             Document 127         Filed 12/08/16       Page 9 of 23 PageID#
                                             1883



 #a^a3423LA"a3^M`Ka"L_a"1MJIKi"2L"IAAda"I3"L_IA"K2Aa"2K`MAA"fdJLIlJa"l`Mla`LIaAB"")_a"f233a`"I3"
 h_IK_"#a^a3423LA"AaJaKLI@aJi"IflJafa3L"234"a3^M`Ka"L_a"1MJIKi"2L"l`Mla`LIaA"ML_a`"L_23"L_a"12`m"
 IA"_Ic_Ji"`aJa@23L"LM"1J2I3LI^^A["KJ2IfAB""GGe¤B"2L"B""#a^a3423LA"`aJi"M3"`aJa@23Ka"Me¤aKLIM3A"LM"
 1J2I3LI^^A["4IAKM@a`i"`a£daALA"2A"2"e2AIA"LM"`a42KL":99I3^M`f2LIM3"`ac2`4I3c"L_aÌ"ML_a`"l`Mla`LIaAB0""
 GGqll[3"2L"0QB""(dL"L_aAa"`aJa@23Ka"Me¤aKLIM3A"`aJ2La"LM"M3a"`a£daAL"^M`"l`M4dKLIM3"234"M3a"
 I3La``Mc2LM`i2AmI3c"#a^a3423LA"LM"\I4a3LI^i"2JJ"`aAI4a3LI2J"l`Mla`LIaAL_2L"iMd"Mh37"f232ca7"M`"
 ML_a`hIAa"KM3L̀MJB]""GGll[3"$¥B"j"EB""#a^a3423LA"_2@a"3ML"Me¤aKLa4"M3"`aJa@23Ka"c`Md34A"LM"
 ML_a`"4IAKM@a`i"`a£daALA"L_2L"hMdJ4"a3KMfl2AA"L_a"MdLAL234I3c"`a3ah2JA"234"ML_a`"`a42KLa4"
 I3^M`f2LIM3B""GGqGvv7"$¥B"O1J2I3LI^^A["*ÌAL"aL"M^"*1A"2L"0P¬00*1A"007"0R¬0gB""*d`L_a`7"
 I3"l`2KLIKa7"#a^a3423LA"_2@a"KM3LI3d2JJi"`a^a``a4"LM"a@a3LA"MKKd``I3c"2L"L_aÌ"ML_a`"l`Mla`LIaA"2A"
 ¤dALI^IK2LIM3A"^M`"L_a"@a`i"lMJIKIaA"K_2JJa3ca4"ei"L_IA"J2hAdILk%"L_a"5Md`L"A_MdJ4"3ML"la`fIL"
 #a^a3423LA"LM"`a42KL"f2La`I2J"`aJ2LI3c"LM"I3^M`f2LIM3"L_2L"#a^a3423LA"ldL"2L"IAAdaB
          '3ML_a`"a¥2flJa"M^"#a^a3423LA["`a42KLIM3A"a¥Kaa4I3c"L_a"AKMla"M^"L_aÌ"`aJa@23Ka"
 Me¤aKLIM3A"IA"23"2d4IL"Al`a24A_aaL"M^"L_aÌ"l`Mla`LIaA"L_2L"#a^a3423LA"KM34dKLa4"I3"kP0g"234"L_2L"
 I3KJd4aAAa@a`2J"`a42KLIM3AB""GG$¥B"jC'1+$PPPPkOROB""#a^a3423LA"KJ2If"AdK_"`a42KLIM3A"
 KM@a`a4"Ì`aJa@23L"I3^M`f2LIM37"a@a3"L_Mdc_"1J2I3LI^^A"_2@a"3MLa4"L_2L"AMfa"`a42KLIM3A"KM@a`"
 I3^M`f2LIM3"`aJ2LI3c"LM"L_a"<:{GHq9:;<=;>>?I3"L_IA"K2AaB""GG;HvKaJJA")k0"234")R0"`aJ2La"LM"
 """"""""""""0""""""""""""""""""""""""""""""""""""
                """#a^a3423LA2JAM4M"3ML"`a42KL"I3^M`f2LIM3"2eMdL"ML_a`"l`Mla`LIaA"I3"Aa@a`2J"4MKdfa3LAB
             k"  ""GGqGvvq$¥B"#a^a3423LA["aAlM3AaA"LM"1J2I3LI^^A["*ÌAL"aL"M^"3La``Mc2LM`IaA"2L"00"
 I3"`aAlM3Aa"LM"I3La``Mc2LM`i"2AmI3c"#a^a3423LA"LM"\¦4§aAK`Iea"2JJ"`a2AM3A"B"B"B"L_2L"iMd"`a£dÌa"
 a@a`i"MKKdl23L"JI@I3c"2L"L_a"12`m"LM"KMflJaLa"23"2llJIK2LIM37"`acIALa`"2A"23"MKKdl23L7"234"faaL"
 L_a"A2fa"`a£dÌafa3LA"^M`"`aAI4a3Ki"2A"2"Ja2Aa_MJ4a`7]"AL2LI3cN"\º<qs=}GyqysGy=;G?7"d3I4a3LI^Ia4"
 MKKdl23LA"I3"AMfa"I3AL23KaA"ha`a"^Md34"LM"_2@a"K`IfI32J"e2Kmc`Md34A7"I3KJd4I3c"^aJM3IaA7"4`dc"
 L̀2^^IKmI3c7"234"Aa¥"M^^a34a`"`acIAL̀2LIM3"234"K`IfaA"M^"K_IJ4"fMJaAL2LIM3B]"afl_2AIA"244a4%"
 $¥B"&M3aA"#alB"2L"ggNOSgON0R7"RNgSk0"                                                                "
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Case 1:16-cv-00563-PTG-WBP           Document 127        Filed 12/08/16     Page 10 of 23 PageID#
                                            1884



  1J2I3LI^^A&MAa"aiaA"234".a`ea`L"2`2@I2S5`dbB""3"L_a"A2fa"4MKdfa3L7"#a^a3423LA"2JAM"
  `a42KLa4"I3^M`f2LIM3"`aJ2La4"LM3M3SlJ2I3LI^^"La323LA"2L"L_a"12`mB""(dL"L_IA"I3^M`f2LIM3IA"3ML"M3Ji"
  `aJa@23L"edL"aAAa3LI2J"LM"4aLa`fI3I3c"h_aL_a`"4I^^a`a3LI2J"L̀a2Lfa3L"_2A"MKKd``a4B""GGq{;=}qwvq
    :zGyq:=Gy;:9q~;vquur7"!MB"QN0kS5/S0j07"kP0R"C+"R0QRgOj7"2L"µQ"!B#BCB"/2B&d3a"07"
  kP0R"c`23LI3c"fMLIM3"LM"KMflaJ"AL2LIALIK2J"I3^M`f2LIM3"`ac2`4I3c"L̀a2Lfa3L"M^"laMlJa"MdLAI4a"M^"
  L_a"l`MLaKLa4"KJ2AA"eaK2dAa"AdK_"I3^M`f2LIM3"IA"\Ka`L2I3Ji"`aJa@23L"LM"faaL"_IA"ed`4a3"LM"aAL2eJIA_"
  2"y;{:q>:~;GK2Aa"M^"4IAK`IfI32LIM3]B""#a^a3423LA"2JAM"`a42KL"LhM"^dJJ"KMJdf3A"L_2L"KMdJ4"
  l`M@I4a"`aJa@23L"KM3La¥L"A_MhI3c"4I^^a`a3LI2J"L̀a2Lfa3LB""GGq;HvKMJdf3A""234"&B
          )_aAa"a¥2flJaA"2AI4a7"1J2I3LI^^A"f2I3L2I3"L_a"lMAILIM3"L_ai"_2@a"2AAa`La4"L_`Mdc_MdL"L_aÌ"
  e`Ia^I3cN"`a42KLa4"I3^M`f2LIM3"I3"23ML_a`hIAa"`aAlM3AI@a"4MKdfa3L"IA"I3_a`a3LJi"4IAKM@a`2eJa7"
  2eAa3L"AlaKI2J"KÌKdfAL23KaABGGq0MLB"5MflaJ"2L"0Q%alJi"0MLB"5MflaJ"2L"0Q¬0OB""#a^a3423LA"
  K233ML"d3IJ2La`2JJi"`a42KL"`aAlM3AI@a"4MKdfa3LAd3JaAA"L_a"`a42KLIM3A"2`a"ld`Ad23L"LM"L_a"a¥IALI3c"
  1`MLaKLI@a"`4a`"M`"ML_a`"KMd`L"M`4a`B""(aK2dAa"#a^a3423LA"3aIL_a`"KMflJIa4"hIL_"L_a"La`fA"M^"
  L_a"1`MLaKLI@a"`4a`I3"f2mI3c"L_aÌ"`a42KLIM3A7"3M`"AMdc_L23ML_a`"M`4a`"^`Mf"L_IA"5Md`L"L_2L"
  hMdJ4"2JJMh"L_af"LM"4M"AM7"L_aÌ"`a42KLIM3A"2`a"Ifl`Mla`B""GGqalJi"0MLB"5MflaJ"2L"0gB
          $@a3"2AAdfI3c"L_a`a"ha`a"AMfa"4MdeL"2eMdL"L_a"4IAKM@a`2eIJILi"M^"L_a"`a42KLa4"
  I3^M`f2LIM37"L_a"5Md`L"A_MdJ4"`a£dÌa"#a^a3423LA"LM"l`M4dKa"L_a"4MKdfa3LA"I3"d3`a42KLa4"^M`fB"
  '^La`"2JJ7"I^"L_a"`a42KLa4"I3^M`f2LIM3"ha`a"L̀dJi"Ì`aJa@23L7L_a3#a^a3423LA"hMdJ4"3ML"ea"
  Me¤aKLI3c"AM"AL̀a3dMdAJiB"GGFG9::yGqF;?9:zqyvquurqwvquG<swsqyvqu=HvquG<swsqs9H;<q
  rsv7"!MB"5/"0RSk0PS'7"kP0O"C+"jkPjj7"2L"µO"#B"#aJB"*aeB"kR7"kP0O"\I3Ka"L_a
  l`M4dKI3c"l2`Li"IA"M`4I32`IJi"3ML"_2`fa4"ei"l`M4dKI3c"Ì`aJa@23L"I3^M`f2LIM3"B"B"B"7`a42KLIM3A"2`a"
  d33aKaAA2`i"2347"2A"L_IA"fMLIM3"4afM3AL̀2LaA7"4IA`dlLI@aB]"KIL2LIM3"234"I3La`32J"£dML2LIM3"f2`mA"
  MfILLa4B""34aa47"L_a"AaJaKLI@a"32Ld`a"M^"#a^a3423LA["`a42KLIM3A"3ML"M3Ji"4al`I@a"1J2I3LI^^A"M^"

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Case 1:16-cv-00563-PTG-WBP           Document 127        Filed 12/08/16     Page 11 of 23 PageID#
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  `aJa@23L"KM3La¥L7"edL"2JAM"AdccaAL"#a^a3423LA"f2i"_2@a"AMfaL_I3c"LM"_I4aB""GGqG99;<qwvqG99;<7"
  !MB"kN0RS5/S0R0S#5!7"kP0Q"C+"Qj0RR7"2L"µQ"#BB5B"alLB"RP7"kP0Q\5Md`LA"_2@a"
  `aKMc3Iba4"L_2L"`aJa@23KaSe2Aa4"`a42KLIM3A"2`a"4IA^2@M`a47"eaK2dAaL_ai"e`aa4"AdAlIKIM3A7"234"
  L_ai"f2i4al`I@a"L_a"`a24a`"M^"KM3La¥LB]"KIL2LIM3A"234"I3La`32J"£dML2LIM3"f2`mA"MfILLa4B
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           #a^a3423LA4a@MLa"M3al2`2c`2l_LM"4IALI3cdIA_I3c"M3Ji"AMfa"M^"1J2I3LI^^A["KILa4"K2AaAB""
  #a^a3423LA"KM3La34G99;<qwvqG99;<7"!MB"kN0RS5/S0R0S#5!7"kP0g"C+"RgOQ0g"#BB5B"&dJi"
  0g7"kP0g7"IA"I32llJIK2eJa"eaK2dAa"\L_a"`a42KLI3c"l2`Li"l`M@I4a4"3M"a¥lJ232LIM3"^M`"L_aÌ"
  `a42KLIM3AB]""ll[3"2L0B""(dL"L_a"KMd`L"@Iaha4"L_a"`a42KLIM3A"I3"L_2L"K2Aa"2A"eaI3c"f24a"M3"L_a"
  e2AIA"M^"Ì`aJa@23Ka7"h_IK_"IA"h_i"L_a"KMd`Lc`23La4"L_a"fMLIM3"LM"KMflaJ"2^La`"AL2LI3c"L_2L"\¦L§_a"
  `a42KLIM3"M^;yyG9Gw:<=q;<>sy{:=;s<7"a@a3"h_a3"Al2`I3cJi"4M3a7"4al`I@aA"4a^a3423LA"M^"KM3La¥L"
  ^M`"L_a"`aJa@23L"I3^M`f2LIM3B]""G99;<7"kP0g"C+"RgOQ0g7"2L"µgafl_2AIA"244a4B"#a^a3423LA"
  4IALI3cdIA_"<qyGqq;<Hs?qqFssy?q<~vq8ysHvqu;:vqu;=;v7!MB"kN0kS0!SPPPP07"kP0R"C+"
  kOkPO"#BB5B"&23B"kg7"kP0R7"M3"L_a"e2AIA"L_2L"L_a"`a42KLIM3A"L_a`a"\KM@a`a4"7PPP"l2caA¦7§]"
  ll[3"2L"07"edL"1J2I3LI^^A"4M"3ML"d34a`AL234"_Mh"L_a"3dfea`"M^"`a42KLa4"l2caAIA"2"f2La`I2J"
  ^2KLB""*I32JJi7"#a^a3423LA"244`aAA"rs<:=Gq;sGyw;~G?q<~vqwvq{;=}7"!MB"5/B"C#½S0RS0jj7"
  kP0Q"C+"0kQOg"#B"04B"02`B"0j7"kP0Q7"dAI3c"2"l2`a3L_aLIK2J"L_2L"4MaA"3ML"f2ma"
  c`2ff2LIK2J"Aa3AaB""ll[3"2L"0B""3"23i"K2Aa7"#a^a3423LA"4M"3ML"K_2JJa3ca"L_a"KMd`L[A"AL2Lafa3L"
  L_2L"\¦)§_a"*a4a`2J"dJaA"l`M@I4a"3M"l`MKa4d`2J"4a@IKa"^M`"d3IJ2La`2J"`a42KLIM3"ei"2"l2`Li"234"IL"
  IA"2"l`MKa4d`a"L_2L"IA"3ML"^2@M`a4B]""rs<:=G7"kP0Q"C+"0kQOg7"2L"µj"KIL2LIM3"MfILLa4B
           #a^a3423LA"4M"3ML"KM3LaAL"LhM"ML_a`"hIL_I3SKÌKdIL"MlI3IM3A"KILa4"ei"1J2I3LI^^A7"eML_"M^"
  h_IK_"^I34"L_2L"d3IJ2La`2J"`a42KLIM3A"I3"ML_a`hIAa"`aAlM3AI@a"4MKdfa3LA"M3"L_a"AMJae2AIA"M^"
  \Ì`aJa@23Ka]"2`a"3ML"la`fILLa4"ei"L_a"*a4a`2J"dJaABGGe¤B"'L"00¬0k"KILI3c"F:w;Hqwvqp9};<7"

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Case 1:16-cv-00563-PTG-WBP           Document 127        Filed 12/08/16      Page 12 of 23 PageID#
                                            1886



  !MB"PjS007"kP0P"C+"0gPgjkk7"2L"µj¬CB#B!B5B"02`B"RP7"kP0P\¦)§_a"KMd`L"IA"L̀MdeJa4"ei"
  h_MJaA2Ja"d3IJ2La`2J"`a4¦2§KLIM3"M^"4MKdfa3LABB"B"B"")_a"KMd`L"hIJJ7"L_a`a^M`a7"KMflaJ"@a`AIM3A"M^"
  2JJ"4MKdfa3LA"2J̀a24i"l`M4dKa4"I3"`aAlM3Aa"LM"23i"`a£daAL"I3"d3`a42KLa4"^M`f"h_a`a"AdK_"
  `a42KLIM3A"ha`a"e2Aa4"M3"c`Md34A"L_2L"L_a"f2La`I2J"IA"3M3S`aAlM3AI@a"M`"Ì`aJa@23LB]7"234"G99;<q
  wvqG99;<7"!MB"kN0RS5/S0R0S#5!7"kP0Q"C+"Qj0RR7"2L"µQ#BB5B"alLB"RP7"kP0Q_MJ4I3c"
  L_2L"`a42KLIM3"M^"ld`lM`La4Ji"Ì`aJa@23L"I3^M`f2LIM3"h2A"Ifl`Mla`"a@a3"L_Mdc_"L_a"`a42KLI3c"
  l2`Li"fM@a4"^M`"2"l`MLaKLI@a"M`4a`7234"\¦a§@a3"I^"L_a"KMd`L"4aLa`fI3a4"L_2L"L_a"AlaKI^IK"
  I3^M`f2LIM3"¦L_a"`a42KLI3c"l2`Li§"hIA_aA"LM"`a42KL"h2A7"ILAaJ^7"Ì`aJa@23L]B
          #a^a3423LA"2JAM"KILa"K2AaA"^`Mf"4IAL̀IKL"KMd`LA"hIL_I3"L_a"*Md`L_"5ÌKdIL"L_2L"ld`lM`La4Ji"
  AdllM`L"L_aÌ"lMAILIM3B""GGll[3"0jS0B 3"^2KL73M3a4MB
          )_a"LhM"$2ALa`3"#IAL̀IKL"M^"/ÌcI3I2"M`4a`A"#a^a3423LA"KILa"2`a"l`MKa4d`2JJi"a3LÌaJi"
  4I^^a`a3LB""!aIL_a`"K2Aa"I3@MJ@a42"l2`Li"L_2L"yGG{=;wG9z`a42KLa4"I3^M`f2LIM3"L_2LILeaJIa@a4"
  h2A"Ì`aJa@23LhIL_MdL"^ÌAL"MeL2I3I3c"2"KMd`L"M`4a`B 3ALa247"I3"p=9:<=;?qrs<?t9=:<=?qu=Hvqwvq
  xGyy:Hz<Gqpy{syGHq|G};~9G?q<~v7"L_a"KMd`L"c2@a"L_a"lJ2I3LI^^"la`fIAAIM3"LM"`a42KL"\?G<?;=;wG234"
  Ì`aJa@23L]"lM`LIM3A"M^"L_a"l2AAlM`L"2L"IAAda":>=GyL_a"KMd`L"_aJ4"2"_a2`I3c"M3"L_a"IAAdaB""ll[3"$¥B"
  0k"afl_2AIA"244a4B""+ImahIAa7"I3"F:w;?qwvq9:~:=GyusHGqqxy:;<;<qr=yvq<~v7"L_a"
  4a^a3423LA2^^Ìf2LI@aJi"fM@a4"^M`"2"l`MLaKLI@a"M`4a`"`ac2`4I3c"`a42KLa4"I3^M`f2LIM3"L_ai"4I4"
  3ML"eaJIa@a"3aa4a4"LM"ea"4IAKJMAa47"234"ML_a`hIAa"a¥lJ2I3a4"LM"L_a"KMd`L"L_2L"L_a"`a42KLIM3A
  KM@a`a4"\Aa3AILI@a"I3^M`f2LIM3"`aJ2LI3c"LM"ML_a`"KM3L̀2KLA"234"KdALMfa`A]"^M`"h_IK_"\L_aÌ"
  4IAKJMAd`a"KMdJ4"_2`f"4a^a3423LA["aflJMiaaA"234"KdALMfa`AB]""ll[3"$¥B"0R"2L"k7"¬B"".a`a7"
  #a^a3423LA"_2@a"3aIL_a`"fM@a4"^M`"2l`MLaKLI@a"M`4a`73M`"f24a"23i"2`cdfa3L̈ h_aL_a`"4d`I3c"
  L_a"faaL"234"KM3^a`"l`MKaAA"M`"4d`I3c"e`Ia^I3c"M3"1J2I3LI^^A["fMLIM3"LM"KMflaJ̈ 2eMdL"
  l2`LIKdJ2`Ji"Aa3AILI@a"I3^M`f2LIM3"AIfIJ2`"LML_2L"`a42KLa4"I3"p=9:<=;?M`"F:w;?B

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Case 1:16-cv-00563-PTG-WBP             Document 127         Filed 12/08/16      Page 13 of 23 PageID#
                                              1887



          #a^a3423LA"`a2K_"LM"ML_a`"4IAL̀IKL"KMd`LA"hIL_I3"L_a"*Md`L_"5ÌKdIL"^M`"AdllM`L7"KILI3c"L_`aa"
  244ILIM32J"K2AaA7"?GGll[3"2L"0j¬07"edL"a2K_"IA"AIfIJ2`Ji"I32llJIK2eJaB""#a^a3423LA"KILa"L_a"^ÌAL"
  KJ2dAa"M^"L_a"KMd`L[A"^I34I3c"I3"z:yHwvq|Gy;s<qG?=|;y;<;:vq<~v7"edL"MfILL_a"`aAL"M^"L_a"
  Aa3La3Ka7"h_IK_AL2LaA"L_2L"\L_a"`a42KLIM3A"hIL_I3"L_a"4MKdfa3LA"2L"IAAda"2`a"`aJa@23L"2L"L_a"
  4IAKM@a`i"Ja@aJB"B"B"B]"!MB"0N005/0Rk7"kP0R"C+"RPPO7"2L"µ0Q"!B#BCB"/2B"&23B"k7"kP0RB
  *d`L_a`7"L_a"KMd`L"dJLIf2LaJi"_aJ4"L_2L"4a^a3423LA["`a42KLIM3A"\M3"c`Md34A"M^"`aJa@23Ki]"ha`a"
  Ifl`Mla`B"GGq;Hvq2L"µ0j"\¦*§M`"L_a"`a2AM3A"_a`aI3ea^M`a"AaL"^M`L_FG>G<H:<=?·qyGH:~=;s<qs>q
  =}s?Gqsy=;s<?qs>q=}GqsGyqs;<=qs<qyst<H?qs>qyG9Gw:<~zq:yGqswGyyt9GH:<HqHG<;GH234"
  1J2I3LI^^A[fMLIM3"LMKMflaJ"l`M4dKLIM3"M^"L_a"4MKdfa3LA"_a`aI3"I4a3LI^Ia4"2A"¾"jQ7"¾"jjO7"
  234"¾"jk"d3`a42KLa4"2A"LM"`aJa@23Ki"A_24a4"I3"c`aa3"IA"c`23La4B]afl_2AIA"244a4B
          #a^a3423LA["KIL2LIM3"M^"<;=GHq=:=G?qwvq8Gy>sy{:<~GqssHqystIA"3M"4I^^a`a3LB""
  #a^a3423LA"KILa"L_IA"K2Aa"2A"\a34M`AI3c"`a42KLIM3A"f24a"M3"3M3S`aAlM3AI@a3aAA7]ll[3"07edL"
  #a^a3423LA"2c2I3"MfIL"L_a"KMd`L[A"2KLd2J"_MJ4I3cN"\3"`ac2`4"LM"L_a"AlaKI^IK"`a42KLIM3"2L"IAAda"
  3MLa4"2eM@a"B"B"B"L_a"rsty=q>;<H?q=}:=q=}Gq{:=Gy;:9q;<q¶tG?=;s<q{t?=qGqt<yGH:~=GHBC_IJa"L_a"
  5Md`L"4MaA"3ML"^I34"L_2L"L_a"`a42KLIM3"h2A"f24a"I3"e24"^2IL_7"IL"^I34A"L_2L"L_a"f2La`I2J"IA"hIL_I3"
  L_a"AKMla"M^"L_a"#MKdfa3L"`a£daALB] <;=GHq=:=G?qwvq8Gy>sy{:<~GqssHqyvq<~v7"!MB"5/"
  0&S0RS0j0k7"kP0O"C+"0PkP07"2L"µk"#B"04B"02`B"0Q7"kP0Oafl_2AIA"244a4BR
          #a^a3423LA["^I32J"K2Aa7"ssHqu;s<q<~vqwvqr:;=:9qr;=;G?p rq<~v7"_2A"3M"haIc_L
  eaK2dAa"L_a"KMd`L"4a3Ia4"L_a"4a^a3423LA["fMLIM3"LM"KMflaJ"hIL_"`aAlaKL"LM"L_a"\f2La`I2J"
  l`a@IMdAJi"`a42KLa4]"ld`aJi"M3"l`MKa4d`2J"c`Md34AB""!MB"ONk5/PPQk7"0O"C+"QjQgO7"2L"µO"
  0B#B!B5B"alLB"O7"0O\)_a"`aKM`4"IA"KJa2`"L_2L"'(5"m3ah"M`"A_MdJ4"_2@a"m3Mh3"M^"L_aAa"

  """"""""""""R""""""""""""""""""""""""""""""""""""
                 )_a"KMd`L"2JAM"KM3KJd4a4"ei"AL2LI3c"L_2L"\¦L§_a"^2KL"L_2L"L_a"f2La`I2J"I3"£daALIM3"f2i"
  Ld`3"MdL"¬dlM3"I3£dÌi"¬LM"ea"Ì`aJa@23L"2JL_Mdc_"`aAlM3AI@a"4MaA"3ML"h2``23L"`a42KLIM3B]""Hv
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Case 1:16-cv-00563-PTG-WBP            Document 127        Filed 12/08/16     Page 14 of 23 PageID#
                                             1888



  `a42KLIM3A"^M`"M@a`"2"ia2`"edL"M3Ji"2L"L_IA"J2La"42La"e`I3cA"ILA"fMLIM3B]B"")_dA7"#a^a3423LA"_2@a"
  l`aAa3La4"GysK2AaA"hIL_I3"L_IA"#IAL̀IKL"M`"ML_a`"4IAL̀IKL"KMd`LA"hIL_I3"L_a"*Md`L_"5ÌKdIL"L_2L"
  A£d2`aJi"244`aAA"L_a"IAAda"2L"_234B
          'A"2"J2AL"2LLaflL"LM"AdllM`L"L_aÌ"`a42KLIM3"l`2KLIKa7"#a^a3423LA"Ld`3"LM"¤d`IA4IKLIM3A"
  MdLAI4a"M^"L_a"*Md`L_"5ÌKdILB""GGll[3"2L"0¬0B""$@a3"I^"L_a"5Md`L"ha`a"LM"KM3AI4a`"L_aAaMdLS
  M^SKÌKdIL"K2AaA7"L_ai"2`a"I32llMAILaB""*M`"a¥2flJa7"I3"L_a"^ÌAL"K2Aa"#a^a3423LAKILa7"9;<=s=Gqrsvq
  wvqG<Gy:9qp~~;HG<=qp??ty:<~Gqrs{:<zqs>qr:<:H:7L_a"KMd`L"la`fILLa4"`a42KLIM3"M^"Ì`aJa@23L"
  I3^M`f2LIM3M3"L_a"c`Md34"L_2L"4a^a3423LA"_24"M`IcI32JJi"2AAa`La4"L_2L"L_a"4MKdfa3LA"2L"IAAda"
  KM3L2I3a4"ML_a`"\KM3^I4a3LI2J"edAI3aAA"I3^M`f2LIM3B]"!MB"5"PgSP0kj"0.17"kPP"C+"0gQjjg7"
  2L"µO"!B#B"52JB"02i"kO7"kPPB""3"ML_a`"hM`4A7"L_a"KMd`L"4I4"3ML"a34M`Aa"d3IJ2La`2J7"l`aaflLI@a"
  `a42KLIM3A"f24a"ei"L_a"l2`Li%"`2L_a`7L_a"KMd`L"c`23La4"Ja2@a"2^La`L_a"l2`LiA_Mha4"K2dAa"LM"
  `a42KL"Ka`L2I3"\ML_a`"edAI3aAA"I3^M`f2LIM3]"L_2L"h2A"\3ML"`aJa@23L"LM"L_IA"JILIc2LIM3B]Hv2L"µjB""
  #a^a3423LA"_a`a"3a@a`"f24a"2"AIfIJ2`"2AAa`LIM37"234"_2@a"3a@a`"AMdc_L"L_a"KMd`L[A"Ja2@aBg




  """"""""""""g""""""""""""""""""""""""""""""""""""
                """)_`aa"ML_a`"K2AaA"#a^a3423LA"KILa¨~};99Gy7":<s7"234"G:t~}G{7"?GGll[3"2L"0¨
  2`a"244`aAAa4"ei"L_a"KMd`L"I3"GwGy:GqF;?=y;t=sy?B""GGkP0P"C+"0jkjOgP7"2L"µg%"?GGq:9?se¤B"
  2L"0k"3BB"")_a"KMd`L"a¥lJ2I3a4"L_a"\L_afaA"h_IK_"la`@24a]"L_a"K2Aa"J2h"KM3Ka`3I3c"d3IJ2La`2J"
  `a42KLIM3A"^M`"`aJa@23Ka"I3"L_a"^MJJMhI3c"h2iN"\0"L_2L"`a42KLIM3M^"ML_a`hIAa"4IAKM@a`2eJa"
  4MKdfa3LA"IA"L_a"a¥KalLIM3"`2L_a`"L_23"L_a"`dJa%"k"L_2L"M`4I32`IJi7"L_a"^2KL"L_2L"L_a"l`M4dKI3c"
  l2`Li"IA"3ML"_2`fa4"ei"l`M4dKI3c"Ì`aJa@23L"I3^M`f2LIM3"M`"ei"l`M4dKI3c"Aa3AILI@a"I3^M`f2LIM3"
  h_IK_"IA"Ade¤aKL"LM"2"l`MLaKLI@a"M`4a`"`aAL̀IKLI3c"ILA"4IAAafI32LIM3"234"dAa"`a34a`A"`a42KLIM3"eML_"
  d33aKaAA2`i"234"lMLa3LI2JJi"4IA`dlLI@a"LM"L_a"M`4a`Ji"`aAMJdLIM3"M^"L_a"K2Aa%"234"R"L_2L"L_a"5Md`L"
  A_MdJ4"3ML"ea"ed`4a3a4"hIL_"23"I3"K2fa`2"I3AlaKLIM3"M^"`a42KLa4"4MKdfa3LA"fa`aJi"LM"KM3^Ìf"
  L_a"`aJa@23Ka"M`"Ì`aJa@23Ka"M^"`a42KLa4"I3^M`f2LIM37"edL"M3Ji"h_a3"3aKaAA2`i"LM"l`MLaKL"
  l`I@IJaca4"f2La`I2J"h_MAa"l`M4dKLIM3"fIc_L"h2I@a"L_a"l`I@IJacaB]""Hv

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Case 1:16-cv-00563-PTG-WBP            Document 127        Filed 12/08/16     Page 15 of 23 PageID#
                                             1889



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           #a^a3423LA["J2AL"AaKLIM3"2c2I3"ldLA"hM`4A"I3LM"1J2I3LI^^A["fMdL_ABQ""#a^a3423LA"2AAa`L"L_2L"
  \I3"a^^aKL7"1J2I3LI^^A"2`cda"^M`"23ah"`dJa"B"B"B"2JJMhI3c"L_a"4IAKM@a`i"M^"3M3S4IAKM@a`2eJa"
  I3^M`f2LIM3"I^"L_2L"I3^M`f2LIM3"_2lla3A"LM"ea"I3"23"ML_a`hIAa"4IAKM@a`2eJa"4MKdfa3LB]""ll[3"2L"
  kPB""#a^a3423LA"L_a3"a¥lJ2I3L_2L"2"`dJI3c"I3"^2@M`"M^"1J2I3LI^^A"hMdJ4"\dla34"B"B"B"`MdLI3a"KI@IJ"
  JILIc2LIM3"l`2KLIKa¦7§]"\M@a`Ld`3"KMffM3"l`2KLIKa¦7§]O234"\_2@a"2"l`M^Md34"a^^aKL"M3"Aa3AILI@a"
  K2AaA"I3"L_a"$2ALa`3"#IAL̀IKL"M^"/ÌcI3I2B]"ll[3"2L"kPB
           'A"2J̀a24i"AL2La47"?GGq?ty:aKLIM3"B#7"1J2I3LI^^A["lMAILIM3"IA"3ML"2"\l`MlMAa4"`dJa7]"
  ll[3"2L"kP%"ILIA"h_2L"2"f2¤M`ILi"M^"KMd`LA¨I3KJd4I3c"Aa@a`2J"4IAL̀IKL"KMd`LA"hIL_I3"L_a"*Md`L_"
  5ÌKdIL̈ _MJ4B""1J2I3LI^^A["lMAILIM3"IA"3ML̈ 234"3a@a`"_2A"eaa3¨L_2L"2"l2`Li"K23"3a@a`f2ma"
  `a42KLIM3A"I3"23"ML_a`hIAa`aAlM3AI@a"4MKdfa3LB"2L_a`7"1J2I3LI^^A["lMAILIM3"IA"2"fdK_"32``Mha`"
  M3aN`a42KLIM3A"K233ML"ea"f24a"G¿~9t?;wG9zM3"L_a"e2AIA"M^"ld`lM`La4"\Ì`aJa@23Ka7]"2A"4aKI4a4"
  d3IJ2La`2JJi"ei"L_a"`a42KLI3c"l2`Li7"2eAa3L"AlaKI2J"¤dALI^IK2LIM3B""GGqGvv7"e¤B"2L"00"\¦'§eAa3L"
  AlaKI2J"KÌKdfAL23KaA7"d3IJ2La`2J"`a42KLIM3A"I3"ML_a`hIAa"`aAlM3AI@a"4MKdfa3LA"M3"L_a"AMJa"e2AIA"
  M^"ÀÌ`aJa@23Ka["2`a"3ML"la`fILLa4"ei"L_a"*a4a`2J"dJaAB]B
           !M`_2AIL"eaa3"1J2I3LI^^A["lMAILIM3"L_2L"#a^a3423LA"K233ML"`a42KL"ld`lM`La4Ji"\Aa3AILI@a]"
  I3^M`f2LIM37"2A"#a^a3423LA["3M3Aa£dILd`"\l2La3L"K2Aa¦§]a¥2flJa_Ic_JIc_LAB"".24"#a^a3423LA"
  """""""""""""Q"""""""""""""""""""""""""""""""""""
                 aKLIM3"$"M^"#a^a3423LA["llMAILIM3"4MaA"3ML"KILa"1J2I3LI^^A["e`Ia^I3c"M3"aIL_a`"L_a"
  la34I3c"Me¤aKLIM3"M`"L_a"fMLIM3"LM"KMflaJ"eaK2dAa"L_IA"AaKLIM3"244`aAAaA"2"AL̀2h"f23B
               O"""1J2I3LI^^A"2c`aa"L_2L"`a42KLIM3"2A"2"ca3a`2J"f2LLa`"IA"2"\`MdLI3a"l`2KLIKa"I3"KI@IJ"
  JILIc2LIM3B]""ll[3"2L"kPB""(dL"L_a"l2`LIKdJ2`"Lila"M^"`a42KLIM3"l`2KLIKa"aflJMia4"ei"#a^a3423LA"IA"
  4aKI4a4Ji"3ML"KMffM3"l`2KLIKa"aIL_a`"I3"L_IA"#IAL̀IKL"M`"I3"^a4a`2J"KMd`LA"ca3a`2JJiB""GGq?ty:
  aKLIM3"B#B""3"ML_a`"hM`4A7"L_a"£daALIM3"IA"3ML"AIflJi"h_aL_a`"KMd`LA"la`fIL"`a42KLIM3"M^"
  KMd`Aa"L_ai"4MB""2L_a`7"L_a"£daALIM3"IA"h_aL_a`"2"l2`Li"f2i"l`aaflLI@aJi"234"d3IJ2La`2JJi"f2ma"
  AdK_"`a42KLIM3A"hIL_MdL"0"^ÌAL"24_a`I3c"LM"L_a"l`MKa4d`aA"aAL2eJIA_a4"I3"a¥IALI3c"KMd`L"M`4a`A7"
  AdK_"2A"L_a"1`MLaKLI@a"`4a`"a3La`a4"I3"L_IA"K2Aa7"M`"k"ML_a`hIAa"AaamI3c"L_a"KMd`L[A"2ll`M@2JB

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Case 1:16-cv-00563-PTG-WBP            Document 127         Filed 12/08/16      Page 16 of 23 PageID#
                                             1890



  l`aAa3La4"2"Aal2`2La"e2AIA¨Gvv7L_a"`a42KLIM3A"KM3L2I3a4"_Ic_Ji"Aa3AILI@a"edAI3aAA"I3^M`f2LIM37"
  M`"_Ic_Ji"l`I@2La"la`AM32J"I4a3LI^iI3c"I3^M`f2LIM3¨L_a"`a42KLIM3A"f2i"_2@a"eaa3"la`fIAAIeJaBj""
   3"A_M`L7"L_a`a"IA"2"4I^^a`a3Ka"eaLhaa3"A2iI3c"\ha"`a42KLa4"L_IA"eaK2dAa"ha"L_I3m"IL"IA"Ì`aJa@23L]"
  234"\ha"`a42KLa4"L_IA"eaK2dAa"IL"3ML"M3Ji"IA"Ì`aJa@23L"edL"2JAM"KM3L2I3A"_Ic_Ji"Aa3AILI@a"
  I3^M`f2LIM3B]"#a^a3423LA"M3Ji"A2I4"L_a"^M`fa`7"234"3a@a`"2AAa`La4"L_a"J2LLa`B
  33­ 4n57 1 478n 1U675Y5 4765 5269248W79 1Z5248759 6327
           65 5269248W7T1 T 4567Á Â7T 61 4Á34n7V9 63
           9­ T¡©©7672¡7Z±²±¡³7¡²7Zo¡¡7Y¢oW7
           #a^a3423LA"KM3La34"L_2L"1J2I3LI^^A"fIAK_2`2KLa`Iba"L_a"02cIAL̀2La"&d4ca[A"`4a`hIL_"
  `aAlaKLLM"L_a"hM`m"l`M4dKL"IAAdaB""GGll[3"2L"OB""'c2I37"L_IA"IA"3ML"AMB"")_a"02cIAL̀2La"&d4ca[A"
  `4a`"_aJ4"L_2L"#a^a3423LA"_24"AaL"^M`L_"2"l`If2"^2KIa"KJ2If"M^"hM`m"l`M4dKL"l`I@IJaca";<q?;=Gqs>
  L_a"^2KL"L_2L"L_a"ld`lM`La4"hM`m"l`M4dKL"h2A"4IAKJMAa4"LM"2"L_Ì4"l2`LiB""`4a`"2L"0B""3"ML_a`"
  hM`4A7"L_a"`4a`"`aJIa4"M3"2"`dJa"M^"J2h"L_2L"hM`m"l`M4dKL"l`MLaKLIM3"IA"3ML"h2I@a4"h_a3"
  4IAKJMAa4"LM"2"L_Ì4"l2`Li¨;vGv7"\L_Mdc_"L_ai"f2i"ea"4ÌaKLa4"LM"2"L_Ì4"l2`Li¦B§]""Hv"")_a"`4a`[A"
  ^2IJd`a"LM"KM3AI4a`"L_2L"AdK_"L_Ì4Sl2`Li"4IAKJMAd`a"f2i"_2@a"h2I@a4"2LLM`3ai"hM`m"l`M4dKL"
  l`MLaKLIM3"IAh_2L"1J2I3LI^^A"K_2JJa3ca42A"2"fIA2llJIK2LIM3"M^"J2hB""GGqGvv7"e¤B"2L"0g"\)_a"
  `4a`"B"B"B"Ic3M`aA"L_a"^2KL"L_2L"a@a3"I^"AdK_"4MKdfa3LA"2`a"hM`m"l`M4dKL"B"B"B"23i"¦AdK_§"KJ2If"B"B"B"
  h2A"h2I@a4"h_a3"#a^a3423LA"4IAKJMAa4"23i"ld`lM`La4"hM`m"l`M4dKL"LM"2`4IB]B


  """"""""""""j""""""""""""""""""""""""""""""""""""
                   3"23i"a@a3L7"L_a"1`MLaKLI@a"`4a`2J̀a24i"l`M@I4aA"Ad^^IKIa3L"l`MLaKLIM3"^M`"Aa3AILI@a"
  I3^M`f2LIM3B""GG#mLB"!MB"gQ"2L"Ã0"\)_a"ld`lMAa"M^"L_IA"1`MLaKLI@a"`4a`"IA"LM"2AAd`a"L_a"
  KM3^I4a3LI2JILi"M^"Ka`L2I3"I3^M`f2LIM3"h_IK_"f2i"ea"4IAKJMAa4"4d`I3c"L_a"KMd`Aa"M^"4IAKM@a`i]B"
  *d`L_a`7"LM"L_a"a¥La3L"#a^a3423LA"3aa4a4fM`a"l`MLaKLIM37"#a^a3423LA"KMdJ4"_2@a"AMdc_L"AdK_"
  l`MLaKLIM37aIL_a`"ei"fM@I3c"^M`"2"l`MLaKLI@a"M`4a`7"M`"ei"fM@I3c"^M`"23"M`4a`"l`M@I4I3c"\AlaKI2J"
  l`MLaKLIM3]"d34a`"L_a"1`MLaKLI@a"`4a`B""GGq;Hv2L"Ã"00B""#a^a3423LA"4I4"3aIL_a`B
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Case 1:16-cv-00563-PTG-WBP             Document 127         Filed 12/08/16      Page 17 of 23 PageID#
                                              1891



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           #a^a3423LA2AAa`L"23"I3KMflJaLa"LaAL"^M`"h_2L"KM3ALILdLaA"2LLM`3ai"hM`m"l`M4dKLB""GG
  ll[3"2L"O¬jB""3"#a^a3423LA["@Iah7"IL"IA"?t>>;~;G<=L_2L"2"KMffd3IK2LIM3"IA"f24a"\¦2§L"L_a"
  4ÌaKLIM3"M^"234"d34a`"L_a"I3AL̀dKLIM3"M^"L_aÌ"KMd3AaJ7"234"2A"l2`L"M^"L_aÌ"I3@aALIc2LIM3"^M`"
  4a^a34I3c"L_a"K2Aa]"^M`"L_2L"KMffd3IK2LIM3"LM"KM3ALILdLa"hM`m"l`M4dKLB""Hv2L"jB""(dL"L_2L"IA"M3Ji"
  M3a"<G~G??:yzKM34ILIM3B""'3ML_a`"3aKaAA2`i"KM34ILIM3"IA"L_2L"L_a"KMffd3IK2LIM3"ea"\l`al2`a4"B"B"
  B"zqsyq>syq:<s=}Gyq:y=zqsyq;=?qyGyG?G<=:=;wGB]""*a4B"B"5I@B"1B"kOeR'"afl_2AIA"244a4%"
  ?GGq:9?sq;~{:<qwvqFGGyGqqrsv7"0Qg"*BB#B"0Rj7"0R"$B#B"/2B"0R7":>>·H7"RO"*BR4"0PR"gL_"
  5ÌB"0g"\)_a"l`MLaKLIM3"2KKM`4a4"ei"dJa"kOeR7"_Mha@a`7"2llJIaA"M3Ji"LM"4MKdfa3LA"
  l`al2`a4"ei"2"Àl2`Li["M`"2"l2`Li[A"À`al`aAa3L2LI@aB[[B""'A"a¥lJ2I3a47"#a^a3423LA"_2@a"4M3a"
  3ML_I3c"LM"K_2JJa3ca"L_a"a@I4a3Ka"KILa4"ei"1J2I3LI^^A"A_MhI3c"L_2L"2`4I"IA"3aIL_a`"2"\l2`Li7]"3M`"
  #a^a3423LA["\`al`aAa3L2LI@a]"I3"L_IA"JILIc2LIM3B""GGe¤B"2L"0Q"3MLI3c"L_2L"#a^a3423LA["KM3L̀2KL"
  hIL_"2`4I"                                                                                  "
                                                                         B""(aK2dAa"#a^a3423LA"_2@a"
  3ML"K2``Ia4"L_aÌ"ed`4a3"LM"A_Mh"L_IA"3aKaAA2`i"KM34ILIM37"hM`m"l`M4dKL"l`MLaKLIM3"K233ML"2llJiB""
  GGqvvqFtq8s<=qHGqG{sty?qqrsvqwvqs9s<q<Ht?vq<~v7"!MB"5/B'B"RNP5/Q7"kP0P"C+"
  0gOO7"2L"µR"$B#B"/2B"'l`B"0R7"kP0P\L"IA"L_a"ed`4a3"M^"L_a"l2`Li"2AAa`LI3c"hM`m"l`M4dKL"
  l`I@IJaca"LM"A_Mh"L_2L"L_a"l`I@IJaca"2llJIaAB"B"B"B]%"}sHG<;Gy7"kPP"C+"RRRgjgg7"2L"µ0\)_a"
  ed`4a3"IA"M3"L_a"la`AM3"Me¤aKLI3c"LM"L_a"4IAKM@a`i¨_a`a7"L_a"#a^a3423L̈ LM"4afM3AL̀2La"L_2L"


  """"""""""""""""""""""""""""""""""""""""""""""""
                """#a^a3423LA"2`cda"\1J2I3LI^^A["`aJI23Ka"M3";~{:<B"B"B"IA"fIAlJ2Ka4B]""ll[3"2L"0P¬00B""
  #a^a3423LA"lMI3L"LM"Iff2La`I2J"^2KLd2J"4I^^a`a3KaA"2eMdL"h_M"h2A"2AAa`LI3c"hM`m"l`M4dKLIM3"
  l`MLaKLIM37"edL"Hsq<s=K_2JJa3ca"L_a"Jac2J"l`I3KIlJa"L_2L";~{:<`aKILaA"234"1J2I3LI^^A"`aJi"M3B

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Case 1:16-cv-00563-PTG-WBP             Document 127        Filed 12/08/16       Page 18 of 23 PageID#
                                              1892



  AdK_"4IAKM@a`i"A_MdJ4"3ML"ea"la`fILLa4B]B"")_a"`4a`"h2A"eML_"KJa2`Ji"a``M3aMdA"ei"Ic3M`I3c"
  L_IA"^2KL7"234"KM3L̀2`i"LM"J2h"ei"fIA2llJiI3c"L_a"J2h"M3"2LLM`3ai"hM`m"l`M4dKLB
          *d`L_a`fM`a7"eaK2dAa"IL"IA"#a^a3423LA["ed`4a3"LM"A_Mh"L_2L"L_a"af2IJA"KM3ALILdLa"2LLM`3ai"
  hM`m"l`M4dKL7"IL"IA"2JAM"#a^a3423LA["ed`4a3"LM"A_Mh"L_2L"L_a"af2IJA"4M"3ML"KM3L2I3"`MdLI3a"
  edAI3aAA"KMffd3IK2LIM3AL_2L"hMdJ4"ea"4IAKM@a`2eJa"ei"1J2I3LI^^AB""}sHG<;GyqkPP"C+"
  RRRgjgg7"2L"µ0v""#a^a3423LA"KILa"L_a"^2KL"L_2L"MdLAI4a"KMd3AaJ"2lla2`A"M3"LhM0PM^"L_a"a3L̀IaA"2A"
  a@I4a3Ka"L_2L"L_a"af2IJA"K233ML"ea"edAI3aAA"KMffd3IK2LIM3AB""ll[3"2L"B"")_IA"IA"I3Ad^^IKIa3L"
  c`Md34A¨2L"Ja2AL"hIL_MdL"^d`L_a`"`a@Iah"ei"L_a"5Md`L̈ LM"¤dALI^i"L_a"hIL__MJ4I3c"M^"23"a3LÌa"
  4MKdfa3L"^M`"L_a"ld`lMAaA"M^"hM`m"l`M4dKL"l`I@IJacaB""*d`L_a`7"L_a"3ML2LIM3"I3"L_a"l`I@IJaca"JMc"
  KM``aAlM34I3c"LM"L_aAa"LhM"a3L̀IaA"`aJ2LaA"LM"\`aAI4a3L"AK`aa3I3cB]""GGq$¥Bk2L"B""aAI4a3L"
  AK`aa3I3cIA"2"KM`a"2AlaKL"M^"#a^a3423LA["`MdLI3a"edAI3aAA"`aJ2LIM3A_Il"hIL_"2`4IB"IflJi"
  K2`eM3"KMliI3c"MdLAI4a"KMd3AaJ"M3"AdK_"23"af2IJ7"hIL_MdL"fM`a7"4MaA"3ML"L̀23A^M`f"2"edAI3aAA"
  KMffd3IK2LIM3"I3LM"2LLM`3ai"hM`m"l`M4dKLB
          #a^a3423LA"2JAM"KILa"L_a"`4a`[A"AL2Lafa3L"`ac2`4I3c"L_a"LIfaJI3a"M^"KMffd3IK2LIM3A"2A"
  AdllM`L"^M`"L_aÌ"KJ2If"M^"hM`m"l`M4dKLB""ll[3"2L"B"")2mI3c"L_IA"AL2Lafa3L"JILa`2JJi"hMdJ4"2JJMh"
  2"l2`Li"LM"KJM2m"23i"`MdLI3a"edAI3aAA"KMffd3IK2LIM3"2A"l`MLaKLa4"hM`m"l`M4dKL7"AIflJi"eaK2dAa"
  L_a"KMffd3IK2LIM3"MKKd``a4"2`Md34"L_a"LIfa"L_2L"L_a"JILIc2LIM3"h2A"^IJa4B""!ML2eJi7"#a^a3423LA["
  KMffd3IK2LIM3A"hIL_"2`4I"KMI3KI4a"3ML"M3Ji"hIL_"L_a"AL2`L"M^"L_IA"JILIc2LIM37"edL"2JAM"hIL_"
                                                                                                  "
           B"")_dA7"L_a`a"IA"`a2AM3"LM"eaJIa@a"L_aAa"af2IJA"2`a"edAI3aAA"KMffd3IK2LIM3A"`aJ2La4"LM"
  """"""""""""""""""""""""""""""""""""""""""""""""
                """1J2I3LI^^A"I3KM`lM`2La"ei"`a^a`a3Ka"L_a"2`cdfa3LA"KM3L2I3a4"I3aKLIM3"B("M^"L_aÌ"
  e¤aKLIM3B""e¤B"2L"0O¬0B
              0P"  ""1J2I3LI^^A"KILa"La3"ML_a`"4MKdfa3LA"^`Mf"L_a"l`I@IJaca"JMc"M@a`"h_IK_"#a^a3423LA"
  Ifl`Mla`Ji"2AAa`La4"hM`m"l`M4dKL"l`I@IJacaB""0MLB"5MflaJ"2L"0kB
                                                   0g
Case 1:16-cv-00563-PTG-WBP           Document 127        Filed 12/08/16     Page 19 of 23 PageID#
                                            1893



           B"")_IA"IA"a@a3"fM`aJImaJieaK2dAa"#a^a3423LA"_2@a"ML_a`hIAa"l`M4dKa4"M3Ji"=saf2IJA"
  hIL_"2`4I"MdL"M^"2LML2J"l`M4dKLIM3"M^"M@a`"OPP"4MKdfa3LAB")_dA7"#a^a3423LA["e2`a"2AAa`LIM3A"
  M^"hM`m"l`M4dKL"l`MLaKLIM3"M@a`"af2IJA"hIL_"2`4I"2`a"I3Ad^^IKIa3LLM"faaL"L_aÌ"ed`4a3"M^"l`MM^B
            ­ 6©¡7©¢74²7¢¡²7±¢¡W7Uo74¡776¡¹o7Á²7
                  ÁÅ7T¢±¡7T¡±¡77Á
          #a^a3423LA"2JAM"fIAAL2La"L_a"*Md`L_"5ÌKdIL[A"LaAL"^M`"4aLa`fI3I3c"h_a3"hM`m"l`M4dKL"
  l`MLaKLIM3"IA"h2I@a4B""3"#a^a3423LA["@Iah7"AdK_"h2I@a`"MKKd`A"s<9zh_a3"\L_a"I3La`aALA"M^"L_a"
  L_Ì4"l2`Li"2`a"B"B"B"24@a`Aa"LM"L_a"l2`Li"AaamI3c"hM`m"l`M4dKL"l`MLaKLIM3B]""ll[3"2L"SB""3"
  AdllM`L7"#a^a3423LA"ld`lM`L"LM"l`M@I4a"2"\^dJJa`"a¥Ka`lL]"M^"L_a"*Md`L_"5ÌKdIL[A"4aKIAIM3"I3"<qyGq
  FsG7"OOk"*Bk4"0PjR7"0P0"gL_"5ÌB"00B""(dL"L_a"3a¥L"LhM"Aa3La3KaA"f2ma"KJa2`"0"L_2L"
  4IAKJMAd`a"LM"M3a"hIL_\I3La`aALA"24@a`Aa]"IA"M3Ji"M3a"h2i"M^"h2I@I3c"hM`m"l`M4dKLl`MLaKLIM37"
  234"k"h_2L"L_a"*Md`L_"5ÌKdIL[A"Mla`2LI@a"LaAL"IA"^M`"4aLa`fI3I3c"h2I@a`"M^"hM`m"l`M4dKLN
          pHH;=;s<:99z7"`aJa2Aa"M^"ML_a`hIAa"l`MLaKLa4"f2La`I2J"hIL_MdL"23"I3La3L"LM"JIfIL"ILA"
          ^dLd`a4IAlMAILIM3"fIc_L"^M`^aIL"hM`m"l`M4dKL"l`MLaKLIM37"`ac2`4JaAA"M^"L_a"
          `aJ2LIM3A_Il"eaLhaa3"L_a"2LLM`3ai"234"L_a"`aKIlIa3L"M^"L_a"f2La`I2JB<qs=}Gyq
          syH?7LM"a^^aKL"2"^M`^aILd`a"M^"hM`m"l`M4dKL"l`MLaKLIM3"ei"h2I@a`7"4IAKJMAd`a"fdAL"
          MKKd`"I3"KÌKdfAL23KaA"I3"h_IK_"L_a"2LLM`3ai"K233ML"`a2AM32eJi"a¥laKL"LM"JIfIL"L_a"
          ^dLd`a"dAa"M^"L_a"ML_a`hIAa"l`MLaKLa4"f2La`I2JB
  <qyGqFsG7"OOk"*Bk4"0PjR7"0P0"gL_"5ÌB"00"afl_2AaA"244a4B""3"A_M`L7"#a^a3423LA"2c2I3"
  KM3^dAa"Ad^^IKIa3L"hIL_"3aKaAA2`i"KM34ILIM3AB"")_2L"2"l2`Li"f2maA"2"4IAKJMAd`a"LM"AMfaM3a"hIL_"
  \I3La`aALA"24@a`Aa]"IA"?t>>;~;G<=LM"h2I@a"hM`m"l`M4dKL"l`MLaKLIM3B""(dL"IL"IA"3ML"<G~G??:yzB""^"
  L_a`a"ha`a"23i"4MdeL7"L_a"5Md`L"3aa4"M3Ji"JMMm"LM"23ML_a`"MlI3IM3"I3"L_a"vvqFtq8s<=qK2Aa"L_2L"
  #a^a3423LA"_2@a"KILa4LhIKa7"h_IK_"AL2LaAN
           )_a"Ka3L̀2J"KM3Ka`3"I3"4aLa`fI3I3c"h_aL_a`"4IAKJMAd`a"LM"2"3M3l2`Li"B"B"B"h2I@aA"
          hM`m"l`M4dKL"l`MLaKLIM3"h2A"Adffa4"dl"KM3KIAaJi"ei"<qyGqFsGOOk"*Bk4"0PjR7"
          0P0"gL_"5ÌB00N"\LM"a^^aKL"2"^M`^aILd`a"M^"hM`m"l`M4dKL"l`MLaKLIM3"eih2I@a`7"
          4IAKJMAd`a"fdAL"MKKd`"I3"KÌKdfAL23KaA"I3"h_IK_"L_a"2LLM`3ai"K233ML"`a2AM32eJi"
          a¥laKL"LM"JIfIL"L_a"^dLd`a"dAa"M^"L_a"ML_a`hIAa"l`MLaKLa4"f2La`I2JB]FsGL_dA"
          aAL2eJIA_a4"`a2AM32eJa3aAA"M^"L_a"4IAKJMAI3c"l2`Li[A"a¥laKL2LIM3"M^"KM3^I4a3LI2JILi"
          2A"L_a"LMdK_ALM3a"^M`"4aLa`fI3I3c"h_aL_a`"hM`m"l`M4dKL"l`I@IJaca"h2A"h2I@a4B
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Case 1:16-cv-00563-PTG-WBP               Document 127           Filed 12/08/16       Page 20 of 23 PageID#
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  vvqFtq8s<=7kP0P"C+"0gOO7"2L"µQB00""1J2I3LI^^A"KILa"L_IA"a¥2KL"\LMdK_ALM3a7]"?GGe¤B"2L"07"
  234"#a^a3423LA"3Mh"L̀i"LM"a¥lJ2I3"L_2L"LaAL"2h2i"eaK2dAa"IL"IA"_Ic_Ji"d3^2@M`2eJa"LM"L_afB
                 34aa47"#a^a3423LA"_24"3M"`a2AM32eJa"a¥laKL2LIM3"M^"KM3^I4a3LI2JILi"`ac2`4I3c"23i"
  f2La`I2J"A_2`a4"hIL_"2`4I"eaK2dAa7"2fM3c"ML_a`"L_I3cAN"0"2`4I"IA"2"AaJ^S4aKJ2`a4"3adL̀2J"L_Ì4"
  l2`Li"h_MAa"KM`lM`2La"`al`aAa3L2LI@a"_2A"AlaKI^IK2JJi"AL2La4"L_2L"2`4I"_2A"3M"\4Mc"I3"L_IA"^Ic_L]%"
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  1J2I3LI^^AB"")_dA7"a@a3"c`23LI3cL_2L"hM`m"l`M4dKL"l`MLaKLIM3"2llJIa47"AdK_"l`MLaKLIM3"h2A"h2I@a4"
  ei"4IAKJMAd`a"LM"2`4I7"234"L_a"`4a`[A"KM3L̀2`i"^I34I3cA"ha`a"KJa2`Ji"a``M3aMdA"234"KM3L̀2`i"LM"
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  #a^a3423LA"234"2`4IB""ll[3""2L"0kB""'A"23"I3ILI2J"f2LLa`7"L_a"I3^M`f2LIM3"AMdc_L"ei"1J2I3LI^^A["
  0MLIM3"LM"5MflaJ"IA"4IALI3KL"^`Mf"h_2L"#a^a3423LA"2JJaca"1J2I3LI^^A"AaamB")_`Mdc_"h`ILLa3"
  4IAKM@a`i7"1J2I3LI^^A"4I4"3ML"Aaam"fa`aJi"\2`4I[A"ys~GHtyG?^M`"KM34dKLI3c"K`IfI32J"
  e2Kmc`Md34"234"K`a4IL"K_aKmA7]"ll[3"2L"0k"afl_2AIA"244a47"edL"2JAM"L_a"~s{{t<;~:=;s<?
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  $B#B"/2B"07"IA"I32llMAILaB""GGe¤B"2L"kPB""3"23i"a@a3L7"L_a"*Md`L_"5ÌKdIL[A"4aKIAIM3"I3"FsG
  IA"eI34I3cB""'KKM`4I3cJi7"LM"L_a"a¥La3L"r}y;?=;:<qrs:9;=;s<a¥l`aAAaA"2"KM3L̀2`i"`dJa"M^"J2h7"L_a"
  5Md`L"A_MdJ4"3ML"KM3AI4a`"ILB
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  \KMffd3IK2LIM3A"`aJ2La4"LM"iMd`"dAa"M^"l`M4dKLA"M`"Aa`@IKaA"l`M@I4a4"ei"2`4I"B"B"B"LM"KM34dKL"
  e2Kmc`Md34"M`"K`a4IL"K_aKmA¨I3KJd4I3c"AlaKI^IK2JJiN"R"KMffd3IK2LIM3A"eaLhaa3"iMd"234"
  2`4I"`ac2`4I3c"KM34dKLI3c"e2Kmc`Md34"M`"K`a4IL"K_aKmA%"g"234"KMffd3IK2LIM3A"eaLhaa3"iMd"
  234"2`4I"`ac2`4I3c"23i"1J2I3LI^^]B

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Case 1:16-cv-00563-PTG-WBP            Document 127         Filed 12/08/16      Page 21 of 23 PageID#
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  Aa`@IKa"IA"L_a"~G<=y:9q~s{s<G<=M^"#a^a3423LA["`aAI4a3L"AK`aa3I3c"l`MKaAA7"KMffd3IK2LIM3A"
  eaLhaa3"#a^a3423LA"234"2`4I"4ÌaKLJi`aJ2LaLM234"`a@a2J"#a^a3423LA["m3MhJa4ca"234"I3La3L"
  `ac2`4I3c"#a^a3423LA["a3^M`Kafa3LM^"L_a"1MJIKi"2L"L_aKa3La`M^"L_IA"K2AaB""dK_
  KMffd3IK2LIM3A"KM3L2I3"fM`a"L_23¤dALI3^M`f2LIM3"`ac2`4I3c"2`4I[A"lMJIKIaA"234"l`MKa4d`aA"
  `ac2`4I3c"K`IfI32J"e2Kmc`Md34"234"K`a4IL"K_aKmAB""e¤B"2L"0OB"")_dA7"#a^a3423LA["AdccaALIM3"L_2L"
  1J2I3LI^^A"KMdJ4"MeL2I3"L_IA"I3^M`f2LIM3"\ei"4alMAI3c"B"B"B"M`"AdelMa32I3c"4MKdfa3LA"^`Mf"2`4I]"
  IA"2"`a4"_a``I3cB""ll[3"2L"0kB""1J2I3LI^^A"_2@a"3M"ML_a`"fa23A"LM"MeL2I3"L_IA"I3^M`f2LIM3"
  a@I4a3KI3c"L_afMLI@a"ea_I34"#a^a3423LA["e2Kmc`Md34"K_aKm"l`MKaAA7"2A"IflJafa3La4"ei"2`4IB
               )M"L_a"a¥La3L"1J2I3LI^^A"fdAL"A_Mh"AdeAL23LI2J"3aa470gL_IA"IA"a@I4a3L"^`Mf"h_2L"
  #a^a3423LA"_2@a"l`M4dKa4"LM"42LaB""#aAlILa"1J2I3LI^^A["*1A"AaamI3c"KMffd3IK2LIM3A"hIL_"
  2`4I7"#a^a3423LA"_2@a"l`M4dKa4"M3Ji"=sAdK_"KMffd3IK2LIM3AB""3"L_IA"h2i7"#a^a3423LA["
  AdeAL23LI2J"3aa4"2`cdfa3L"IA"AaJ^S4a^a2LI3c"234"fIAJa24I3cN"ei"^2IJI3c"LM"l`M@I4a"1J2I3LI^^A"hIL_"
  af2IJA"eaLhaa3"#a^a3423LA"234"2`4I"I3"`aAlM3Aa"LM"1J2I3LI^^A["*1A7"L_ai"_2@a"4al`I@a4"
  1J2I3LI^^A"M^"K`ILIK2J"a@I4a3Ka"L_2L"IA"4ÌaKLJi"`aJa@23L"LM"#a^a3423LA["4IAK`IfI32LM`i"I3La3LB
                                                     2 U183 2
               *M`"L_a"`a2AM3A"AL2La47"L_a"5Md`L"A_MdJ4"AaL"2AI4a"L_a"02cIAL̀2La"&d4ca[A"M`4a`"234"M`4a`"
  #a^a3423LA"LM"l`M4dKa"L_a"4MKdfa3LA"Ade¤aKL"LM"1J2I3LI^^A["fMLIM3"LM"KMflaJ"Iffa4I2LaJi7"234"
  c`23L"Ja2@a"^M`"1J2I3LI^^A"LM"`aMla3"23i"4alMAILIM3A"M^"#a^a3423LA"2^La`"`aKaI@I3c"L_a"MdLAL234I3c"
  4MKdfa3LA"^M`"L_a"ld`lMAa"M^"£daALIM3I3c"#a^a3423LA["hIL3aAAaA"M3"AdK_"4MKdfa3LAB
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  \AdeAL23LI2J"3aa4]"d34a`"*a4B"B"5I@B"1B"kOeRIIB""GGalJi"0MLB"5MflaJ"2L"0P¬0kB
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Case 1:16-cv-00563-PTG-WBP      Document 127      Filed 12/08/16   Page 22 of 23 PageID#
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                                       l2dJe`I3mf23Ç£dI33af23daJBKMf
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                                       2`IaJL̀2¤La3ea`cÇ£dI33af23daJBKMf
                                       4IacM4d`23Ç£dI33af23daJBKMf
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                                       *2JJA"5_d`K_7"/'"kkPg0
                                       1_M3aN"jPRjjSRgQP
                                       *2¥N"jPR"jjSRgQg
                                       AIfM3Ç¤dALIKag2JJBM`c
                                       eaKmiÇ¤dALIKag2JJBM`c
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Case 1:16-cv-00563-PTG-WBP          Document 127       Filed 12/08/16     Page 23 of 23 PageID#
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  aJaKL̀M3IK2JJi"hIL_"L_a"5Ja`m"M^"L_a"5Md`L"dAI3c"L_a"$5*AiALaf7"234"K2dAa4"LM"ea"Aa`@a4"ei"
  aJaKL̀M3IK"f2IJ"2"KMli"M^L_a"^M`acMI3c"4MKdfa3L"dlM3L_a"^MJJMhI3c"l2`LIaAN
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  &dALI3"4a(aLLa3KMd`L7"/("¾"RPO
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